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 UNITED STATES DISTRICT COURT                               EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                        §
                                                 §
 versus                                          §   CASE NO. 1:12-CR-119(1)
                                                 §
 KENNY DON STANLEY                               §

      MEMORANDUM ORDER ADOPTING REPORT AND RECOMMENDATION

          The Court referred this matter to the United States Magistrate Judge Keith F. Giblin for

 the administration of a guilty plea hearing. Judge Giblin conducted a hearing and issued his

 findings of fact and recommendation on the defendant’s guilty plea (#217). The magistrate judge

 recommended that the Court accept defendant’s guilty plea and the plea agreement. He further

 recommended that the Court finally adjudge defendant as guilty on Count Two of the Indictment.

          The parties have not objected to the magistrate judge’s findings. The Court accepts the

 findings in the report and recommendation. The Court ORDERS that Judge Giblin’s report (#217)

 is adopted. The defendant’s guilty plea is accepted at this time. The Court defers acceptance of

 the plea agreement until after reviewing the presentence report. It is finally ORDERED that

 defendant, Kenny Don Stanley, is adjudged guilty on Count Two of the Indictment charging

 violations. of Title 18, United States Code, Section 1959(a)(1).
          SIGNED at Beaumont, Texas, this 7th day of September, 2004.
           SIGNED at Beaumont, Texas, this 16th day of July, 2013.




                                             ________________________________________
                                                         MARCIA A. CRONE
                                                  UNITED STATES DISTRICT JUDGE
